

People v Holman (2022 NY Slip Op 01176)





People v Holman


2022 NY Slip Op 01176


Decided on February 23, 2022


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on February 23, 2022
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

FRANCESCA E. CONNOLLY, J.P.
REINALDO E. RIVERA
ROBERT J. MILLER
WILLIAM G. FORD, JJ.


2019-09483

[*1]The People of the State of New York, respondent,
vKareem Holman, appellant. 


Patricia Pazner, New York, NY (Mark W. Vorkink of counsel; Yasmine Bailey on the memorandum), for appellant.
Eric Gonzalez, District Attorney, Brooklyn, NY (Morgan J. Dennehy of counsel; Jong Hwa Ryu on the memorandum), for respondent.



DECISION &amp; ORDER
Appeal by the defendant, as limited by his motion, from a sentence of the Supreme Court, Kings County (Ellen E. Edwards, J.), imposed June 28, 2019, upon his plea of guilty, on the ground that the sentence was excessive.
ORDERED that the sentence is affirmed.
The sentence imposed was not excessive (see People v Suitte , 90 AD2d 80).
CONNOLLY, J.P., RIVERA, MILLER and FORD, JJ., concur.
ENTER:
Maria T. Fasulo
Clerk of the Court








